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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                     __________     of Oregon
                                                                District of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 3:25-mc-00476
 Storage unit No. J21, located at Highway 22 Storage,                        )
  130 50th Ave. NW, Salem, OR 97304, as described                            )
                   in Attachment A
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  Storage unit No. J21, located at Highway 22 Storage, 130 50th Ave. NW, Salem, OR 97304, as described in
  Attachment A hereto,
located in the                         District of           Oregon             , there is now concealed (identify the
person or describe the property to be seized):
 The information and items set forth in Attachment B hereto.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C 841and 846                       Possession and Conspiracy to Possess with Intent to Distribute
        21 U.S.C. § 843(b)                        Use of a Communication Facility to Commit or Facilitate Distribution of and
                                                  Possession with Intent to Distribute a Controlled Substance
          The application is based on these facts:
        See affidavit which is attached hereto and incorporated herein by this reference.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                              Gillian Polinko, DEA Special Agent
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
       telephone at _____________
                        10:30         a.m / p.m       (specify reliable electronic means).


Date:            04/28/2025
                                                                                                         Judge’s signature

City and state: Portland, Oregon                                                 Hon. Stacie F. Beckerman, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                                       ATTACHMENT A

                                    Property to Be Searched

       The property to be searched is Storage unit No. J21, located at Highway 22 Storage, 130

50th Ave. NW, Salem, OR 97304, identified as the “Subject Premises.” The Subject Premises

is further described as a 10 foot by 20 foot storage unit labeled J21 within the secured area of

the business named Highway 22 Storage. (See below photo of the Highway 22 Storage facility).




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                                        ATTACHMENT B

                                         Items to Be Seized

       The items to be searched for, seized, and examined, are those items on the premises

located at Storage unit No. J21, Highway 22 Storage, 130 50th Ave. NW, Salem, OR 97304

(“Subject Premises”), referenced in Attachment A, that contain evidence, contraband, fruits, and

instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1) and 846, Possession with the Intent

to Distribute a Controlled Substance and Conspiracy to Possess with the Intent to Distribute a

Controlled Substance, make it illegal to possess with intent to distribute a Controlled Substance,

or to conspire to do so. Title 21, United States Code, Section 843(b) makes it unlawful to use a

communication facility, such as a cellular telephone, to distribute controlled substances. The

items to be seized cover the period of January 1, 2024, through the date of the execution of the

warrant.

       1.      The items referenced above to be searched for, seized, and examined are:

       a.      Controlled substances, including but not limited to methamphetamine, fentanyl or

cocaine, held in violation of 18 U.S.C 1956 and 21 U.S.C. Sections 841(a)(1) and 846;

       b.      Firearms, firearm accessories, and other dangerous weapons and ammunition;

       c.      Financial profits, proceeds and instrumentalities of trafficking in narcotics and

money laundering, including U.S. Currency and other items of value.

       d.      Paraphernalia for packaging, smuggling, processing, diluting, manufacturing,

weighing, and distributing controlled substances, for example: hidden compartments, scales,

blenders, funnels, sifters, grinders, glass panes, mirrors, razor blades, plastic bags, heat sealing

devices, and dilutants such as inositol, vitamin B12, etc.;


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        e.       Books, records, receipts, notes, ledgers, and other documents relating to the

manufacture and distribution of controlled substances; money laundering, communications

between members of the conspiracy, and evidence of the use of apparently legitimate businesses

to disguise profits.

        f.       Personal books and papers reflecting names, addresses, telephone numbers, and

other contact or identification data relating to the manufacture, importation and distribution of

controlled substances, and money laundering.

        g.       Financial records relating to controlled substances income and expenditures of

money and wealth, to wit: money orders, wire transfer records, cashier's checks and receipts,

account records, passbooks, tax records, safe deposit box keys and records, checkbooks, and

check registers, as well as precious metals and gems such as gold, silver, diamonds, etc.

purchased/acquired between January 1, 2024, and the present;

        h.       Items of personal property that tend to identify the person(s) in residence,

occupancy, control, or ownership of the premises, including but not limited to canceled mail,

deeds, leases, rental agreements, photographs, personal telephone books, diaries, utility and

telephone bills, statements, identification documents, and keys;

        j.       Other cellular telephones, computers and other electronic devices capable of

storing data that constitutes evidence or the instrumentality of drug dealing and conspiracy to do

the same may be seized so the government may apply for search warrants for any other devices

located at the Subject Premises;

        k.       Latent prints and identifying material from items at the premises, including the

fingerprints of the unidentified individuals located at the Subject Premises.


 Attachment B                                                                                   Page 2
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       2.      As used in this attachment, the terms “records” and “information” include all of

the foregoing items of evidence in whatever form and by whatever means they may have been

created or stored, including any form of computer or electronic storage (such as flash memory or

other media that can store data) and any photographic form. The term “computer” includes all

types of electronic, magnetic, optical, electrochemical, or other high speed data processing

devices performing logical, arithmetic, or storage functions, including desktop computers,

notebook computers, mobile phones, tablets, server computers, and network hardware. The term

“storage medium” includes any physical object upon which computer data can be recorded.

Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and other magnetic

or optical media.

       3.      For any computer or storage medium whose seizure is otherwise authorized by

this warrant and any computer, storage medium, or digital device that contains or in which is

stored records or information that is otherwise called for by this warrant (hereinafter

“Computer”):

               a.      Evidence of who used, owned, or controlled the Computer at the time the

       things described in this warrant were created, edited, or deleted, such as logs, registry

       entries, configuration files, saved usernames and passwords, documents, browsing

       history, user profiles, email, email contacts, “chat,” instant messaging logs, photographs,

       and correspondence.

               b.      Evidence of software that would allow others to control the Computer,

       such as viruses, Trojan horses, and other forms of malicious software, as well as evidence

       of the presence or absence of security software designed to detect malicious software.


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            c.      Evidence of the lack of such malicious software.

            d.      Evidence indicating how and when the Computer was accessed or used to

     determine the chronological context of computer access, use, and events relating to the

     crime under investigation and to the Computer user.

            e.      Evidence indicating the Computer user’s state of mind as it relates to the

     crime under investigation.

            f.      Evidence of the attachment to the Computer of other storage devices or

     similar containers for electronic evidence.

            g.      Evidence of counter-forensic programs (and associated data) that are

     designed to eliminate data from the Computer.

            h.      Evidence of the times the Computer was used.

            i.      Passwords, encryption keys, and other access devices that may be

     necessary to access the Computer.

            j.      Documentation and manuals that may be necessary to access the

     Computer or to conduct a forensic examination of the Computer.

            k.      Records of or information about Internet Protocol addresses used by the

     Computer.

            l.      Records of or information about the Computer’s Internet activity,

     including firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”

     web pages, search terms that the user entered into any Internet search engine, and records

     of user-typed web addresses.




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               m.      Contextual information necessary to understand the evidence described in

       this attachment.

                                         Search Procedure

       4.      The search for data capable of being read, stored, or interpreted by a computer or

storage device, may require authorities to employ techniques, including imaging any computer or

storage media and computer-assisted scans and searches of the computers and storage media, that

might expose many parts of the computer to human inspection in order to determine whether it

constitutes evidence as described by the warrant.

       5.      The initial examination of the computer and storage media will be performed

within a reasonable amount of time not to exceed 120 days from the date of execution of the

warrant. If the government needs additional time to conduct this review, it may seek an

extension of the time period from the Court within the original 120-day period from the date of

execution of the warrant. The government shall complete this review within 180 days of the date

of execution of the warrant. If the government needs additional time to complete this review, it

may seek an extension of the time period from the Court.

       6.      If, at the conclusion of the examination, law enforcement personnel determine

that particular files or file folders on the computer and storage media do not contain any data

falling within the scope of the warrant, they will not search or examine those files or folders

further without authorization from the Court. Law enforcement personnel may continue to

examine files or data falling within the purview of the warrant, as well as data within the

operating system, file system, software application, etc., relating to files or data that fall within

the scope of the warrant, through the conclusion of the case.


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       7.      If an examination is conducted, and the computer and storage media do not

contain any data falling within the ambit of the warrant, the government will return the computer

and storage media to its owner within a reasonable period of time following the search and will

seal any image of the computer and storage media, absent further authorization from the Court.

       8.      The government may retain the computer and storage media as evidence, fruits,

contraband, or an instrumentality of a crime or to commence forfeiture proceedings against the

computer and storage media and/or the data contained therein.

       9.      The government will retain a forensic image of the computer and storage media

for a number of reasons, including proving the authenticity of evidence to be used at trial,

responding to questions regarding the corruption of data, establishing the chain of custody of

data, refuting claims of fabricating, tampering, or destroying data, and addressing potential

exculpatory evidence claims where, for example, a defendant claims that the government

avoided its obligations by destroying data or returning it to a third party.




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DISTRICT OF OREGON, ss:                               AFFIDAVIT OF GILLIAN POLINKO

                             Affidavit in Support of an Application
                             Under Rule 41 for a Search Warrant

       I, Gillian Polinko, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am an “investigative or law enforcement officer of the United States” within the

meaning of Title 18, United States Code, Section 2510(7). I am currently employed as a Special

Agent (“SA”) with the United States Drug Enforcement Administration (“DEA”), and assigned

to the District Office in Albuquerque, New Mexico. I have been a SA since April of 2019. As

such, I am a law enforcement officer of the United States within the meaning of 18 U.S.C. §

2510(7), and I am empowered by law to conduct investigations and to make arrests for criminal

offenses, to include those enumerated in 18 U.S.C. § 2516. I graduated from the DEA Training

Academy in Quantico, Virginia, after receiving approximately sixteen weeks of specialized

narcotics related training. While at the DEA Training Academy I became familiar with how

controlled substances are consumed, manufactured, packaged, marketed, and distributed. I

received training on surveillance and counter-surveillance operations, undercover operations,

confidential source operations, criminal law, and investigations involving federal electronic

surveillance statutes, to include Title III wiretaps, drug identification, search warrant executions,

and vehicle stops.

       2.      My experience as a SA includes, but is not limited to, conducting surveillance,

interviewing witnesses, writing affidavits for and executing search and seizure warrants,

conducting extensive toll analysis, debriefing defendants and confidential sources and working

with undercover agents and informants. I have received training and have experience in the


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investigation of violations of the federal drug and money laundering laws, including the offenses

listed below. As a result, I am familiar with matters including, but not limited to, the means and

methods used by drug traffickers and drug trafficking organizations to purchase, transport, store,

and distribute illegal drugs and to hide profits generated from those transactions. I also have

experience in analyzing and interpreting drug codes and cryptic dialogues used by drug

traffickers. I have spoken to other law enforcement officers with similar experience.

       3.      This case is being investigated by the DEA. I have personally participated in the

investigation. I make this affidavit based on my participation in the investigation, and based on

reports and information made available to me by other agents and Task Force Officers (“TFOs”),

as well as other law enforcement authorities. This affidavit is intended to show that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge or

surrounding facts pertaining to this matter.

       4.      I submit this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises described as the following:

               a. Subject Premises: Storage unit No. J21, located at Highway 22 Storage, 130

                   50th Ave. NW Salem, OR 97304, being used by an individual, referred to as

                   Heriberto SALAZAR AMAYA (“HSA”). Subject Premises is described in

                   Attachment A and incorporated herein,

for evidence, contraband, fruits, and instrumentalities of violations of 21 U.S.C. §§ 841(a)(1),

846, and 843(b), to-wit: the distribution and possession with intent to distribute a controlled

substance, conspiracy to distribute and possess with intent to distribute a controlled

substance, and the use of a communication facility in furtherance of the distribution of a


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controlled substance (hereinafter the “Target Offenses”). As set forth below, I have probable

cause to believe that such property and items, as described in Attachment B hereto, including any

digital devices or electronic storage media, are currently located at the Subject Premises, which

is located within the District of Oregon.

       5.        This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter. The facts

set forth in this affidavit are based on my own personal knowledge, knowledge obtained from

other individuals during my participation in this investigation, including other law enforcement

officers, interviews of witnesses, a review of records related to this investigation,

communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.

                                            Target Offenses

       6.        I have probable cause to believe that evidence of the below listed violations will

be found within the premises to be searched as they are described in Attachment A:

            a.      Title 21, United States Code, Section 841(a)(1), Distribution and Possession

                    with Intent to Distribute a Controlled Substance;

            b.      Title 21, United States Code, Section 846, Conspiracy to Distribute and

                    Possess with Intent to Distribute a Controlled Substance; and,

            c.      Title 21, United States Code, Section 843, Use of a Communication Facility in

                    Furtherance of a Drug Crime (Distribution of a Controlled Substance).




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                         Statement of Probable Cause - Background

        7.    DEA is conducting a criminal investigation of HSA, and his drug trafficking

organization (“DTO”), who have conspired to distribute, and are distributing, controlled

substances in New Mexico, Nevada, and Colorado, in violation of 21 U.S.C. §§ 841(a)(1) and

846. This investigation has included wiretaps on a series of phones used by HSA. Agents

began intercepting wire and electronic communications over several phones used by HSA

beginning in August 2024. On April 19, 2025, the wiretaps ended on three phones being used

by HSA. Throughout the course of this investigation, agents have identified numerous phone

numbers, vehicles, and residences that HSA and members of his DTO use to facilitate their drug

trafficking activities. Agents have learned that HSA often rents Airbnb and VRBO properties,

both for himself and his couriers, and has been observed staying in Phoenix, Arizona, Lakewood,

Colorado, Las Vegas, Nevada, Ogden, Utah, and now Salem, Oregon since the investigation

commenced in August 2024. Given this posture, Agents believe that HSA’s transiency is

designed to evade law enforcement detection. Furthermore, since the investigation commenced

in August 2024, agents have identified a total of fifteen (15) phone devices associated with HSA,

each with a different phone number, which HSA has used to facilitate his drug trafficking

activities.

        8.    As part of this investigation, agents identified HSA as the user of cellphone with

number (505) 906-0877 (“HSA PHONE 1”). Agents confirmed HSA as the user of HSA

PHONE 1 on September 11, 2024, in Las Vegas, Nevada. There, Agents observed HSA at a

restaurant that corresponded to an active ping on HSA Phone 1. Agents then conducted a ruse

call and observed HSA answer HSA PHONE 1. Agents then used common call analysis to


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identify subsequent HSA phones as he progressed through new devices. Agents also were able

to confirm HSA used the subsequent devices through his voice, common code words, identical

customers, pings in relation to HSA’s known vehicles and travel, as well as pings associated with

HSA’s residences.

       9.      Based on my training and experience, I know that drug traffickers often cycle

through devices and/or phone numbers to evade law enforcement detection. Additionally, based

on training and experience, including familiarity with the HSA DTO, drug traffickers also

compartmentalize the organization by using specific phones for different levels of operators with

the DTO, allowing HSA to drop a phone if and when a customer is interdicted by law

enforcement.

                     Arrest of Bruce SEDILLO – Drug Customer of HSA

       10.     In November 2024, agents intercepted communications over (505) 321-8920

(“SEDILLO PHONE 1”)1 between SEDILLO and HSA, who was using (505) 288-0537 (“HSA

PHONE 8”) at this time. During these calls, HSA and SEDILLO arranged a drug transaction at

SEDILLO’s residence in Albuquerque, NM. The transaction was expected to occur between

SEDILLO and a courier for the HSA DTO. These communications led agents to believe

SEDILLO was expected to receive over 100,000 fentanyl pills from HSA through his courier.

Agents established surveillance at SEDILLO’s residence in conjunction with the

communications between SEDILLO and HSA, where they observed an HSA DTO courier



   1
      Interceptions took place pursuant to a lawful search warrant authorizing the interception of
wire and electronic communications over SEDILLO PHONE 1. On October 31, 2024, United
States District Judge James O. Browning authorized the interception of wire and electronic
communications over SEDILLO PHONE 1. See MR-24-2014.

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deliver the suspected narcotics to SEDILLO’s residence. Two days later, agents executed a

search warrant at SEDILLO’s residence and seized approximately 150,000 suspected fentanyl

pills with labels that included “Leon” and “GSV,” approximately $71,950.00 U.S.C., and

multiple firearms and silencers:




       11.     Agents conducted a post-arrest interview with SEDILLO. During the interview,

SEDILLO identified HSA as a primary operator for the Sinaloa Cartel. SEDILLO also identified

one of HSA’s known couriers, Cesar ACUNA-MORENO (“ACUNA”), as the individual who

provided the “Leon” and “GSV” fentanyl pills located by law enforcement in his residence.

SEDILLO further explained that the fentanyl pills, which again were marked with “Leon” and

“GSV” labels, were supplied by HSA, whom he only knew as “Juan.” Based on the investigation

into the HSA DTO, law enforcement confirmed that “Juan” is a known alias that HSA uses for

his drug customers. During the post-arrest interview, SEDILLO was able to recognize an

individual that was HSA after viewing a 6-pack photo array. However, SEDILLO stated that he

only knew him as a member of the DTO. SEDILLO continued that he had seen HSA only once




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before and that encounter occurred years prior. Law enforcement did not notify SEDILLO that

he was viewing a picture of HSA.

       12.      As stated above, throughout the course of this investigation, HSA has repeatedly

changed phone numbers and repeatedly changed locations in response to police pressure and

other factors, which is consistent with the common practice of drug traffickers. Drug traffickers

often change phone numbers and physical devices in an attempt to thwart law enforcement.

However, in doing so, drug traffickers are constrained by the necessity to alert their various

customers and suppliers as to the new phone number. Based on training and experience, agents

are aware that a drug trafficker will often change phone numbers and then utilize the “new”

phone number to contact the customer and/or source of supply to inform the customer and/or

source of supply of the change. In this case, HSA behaved in this exact manner following the

apprehension of SEDILLO and the seizure of approximately 150,000 fentanyl pills. HSA

immediately dropped (505) 288-0537 (HSA PHONE 8) and later contacted his other customers

by phone, which law enforcement identified through common call analysis as well as through

other intercepted communication.

       13.     For example, right before HSA dropped HSA PHONE 8, law enforcement

intercepted a call between HSA and a customer, where HSA notified the customer that he would

be providing a new line shortly. Then, on November 16, 2024, agents intercepted an SMS text

message to Vincent MONTOYA (“MONTOYA”), a known customer of the HSA DTO

(discussed more below). That message was sent from “Juan,” and stated that the sending number

was Juan’s new line. Based on the investigation, and confirmed by SEDILLO, agents know Juan

to be HSA.


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                        HSA Travels to Salem, Oregon in January 2025

       14.     On January 5, 2025, agents observed the geolocation data for (505) 524-4990

(“HSA PHONE 11”), (720) 415-7496 (“HSA PHONE 12”), and (720) 289-0736 (“HSA PHONE

13”), all which were identified and connected to HSA through common call analysis, pings, and

surveillance. The data indicated that these three phones appeared to be traveling towards the

Oregon area from the Ogden, Utah area. Additionally, agents intercepted phone calls over HSA

PHONE 13 with (928) 290-9528, a phone number believed to be used by George NAVARRETE

(“NAVARRETE”), indicating that he was traveling in tandem with NAVARRETE, a known

criminal associate and member of the HSA DTO.2 Prior to January 5, 2025, agents had never

observed HSA travel to Oregon.

       15.     On January 11, 2025, agents observed the geolocation data for HSA PHONE 11,

HSA PHONE 12, and HSA PHONE 13 traveling out of the Salem, OR area and ultimately arrive

to Phoenix, AZ on January 12, 2025. Agents have identified Phoenix, AZ as HSA’s source city

for the narcotics he distributes throughout Albuquerque, NM, Denver, CO, and Las Vegas, NV.

For example, during the investigation, agents have intercepted calls where HSA informs

customers that he operates in multiple cities such as Denver and Colorado Springs. Agents have

worked in conjunction with Denver DEA agents and have corroborated HSA dispatching

couriers to customers in Denver, consistent with HSA’s drug trafficking in Albuquerque. Agents

have observed HSA travel in tandem from Phoenix to the New Mexico border with a suspected

load vehicle, and then passed the load vehicle off to his couriers, further indicating his drug


   2
      Agents have reviewed several bank statements that show cash transfers between HSA and
NAVARRETE. Agents also have conducted surveillance on NAVARRETE during drugs
transactions conducted between members of the HSA DTO.

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trafficking in multiple states and jurisdictions. Additional examples of HSA drug trafficking

follow.

                           Oregon Traffic Stop of HSA on February 7, 2025

          16.   On February 7, 2025, agents received a call from an Oregon state police officer

who observed a silver Ford truck bearing NM temporary tag 25T-039432 and a gray GMC

Yukon bearing NM license plate BYPG07 traveling in tandem in La Grande, Oregon. According

to New Mexico MVD, plate 25T-039432 is registered to “RAMIREZ NAVARRETE on a silver

2021 Ford F-150,” and plate BYPG07 is registered to “Danny CALLEJA at 7 Venado Ct. Los

Lunas, NM,” on a 2023 gray GMC Yukon SUV. Additionally, during this time, agents were

receiving GPS ping location data for HSA PHONE 11, HSA PHONE 12, and HSA PHONE 13,

and (928) 290-9528, which placed all the devices traveling in the area of La Grande, Oregon.

          17.   The officer informed agents that he conducted a traffic stop of the silver F-150

due to the temporary tag on the vehicle. The officer identified the driver as HSA, who provided

his NM driver’s license and the registration of the vehicle. HSA also provided his phone number

as (720) 289-0736 (“HSA PHONE 13”) to the officer and stated that he would be staying with

his family at 855 Rumsey NW, Salem, Oregon, for approximately two months. Additionally,

HSA provided the registration for the silver F-150, which is in NAVARRETE’s name, and

provided NAVARRETE’s phone number as (928) 290-9528, thereby confirmed the active ping

on NAVARRETE’s phone. The officer further stated that he observed a large amount of

currency in plain view, to which HSA stated that it was approximately $15,000 U.S.C.

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                              Agents Identify the HSA Residence

       18.     On March 11, 2025, the Honorable David Herrera Urias, District Judge for the

District of New Mexico, approved an order authorizing the renewed interception of wire and

electronic communications occurring to and from HSA PHONE 11 and HSA PHONE 12. Agents

have identified HSA PHONE 11 as a phone HSA uses to communicate with his drug customers

residing in Albuquerque, NM. Agents have identified HSA PHONE 12 as a phone HSA uses to

communicate with his drug customers residing in the Denver, CO area. Additionally, the Court

authorized the seizure of location data related to HSA PHONE 11 and HSA PHONE 12 for the

period of interception. Interceptions concluded on HSA PHONE 11 and HSA PHONE 12 on

April 10, 2025.

       19.     On March 20, 2025, the Honorable David Herrera Urias, District Judge for the

District of New Mexico, approved an order authorizing the initial interception of wire and

electronic communications occurring to and from (360) 601-9164 (“HSA PHONE 15”). Agents

have identified HSA PHONE 15 as a phone HSA uses to communicate with his drug couriers,

Mexican sources of supply, and family. Additionally, the Court authorized the seizure of location

data related to HSA PHONE 15 for the period of interception. Interceptions concluded on HSA

PHONE 15 on April 19, 2025.

       20.     On April 1, 2025, at approximately 1:13 p.m., agents received a phone call

between (503) 362-3601, a phone number used by VELAZCO, and HSA PHONE 15, used by

HSA. Agents believe VELAZCO is the significant other of HSA. During this phone call,

VELAZCO informed HSA that the electricity went out at their house and HSA states that he will

check to see if they can re-connect the services.


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       21.     On this same day, at approximately 1:15 p.m., agents received an outgoing phone

call (session 290) over HSA PHONE 15, used by HSA, and (503) 362-3601, the phone number

belonging to Salem Electric. During this phone call, HSA provided his residential address as

“137 Greencrest Street northeast,” (the “HSA Residence”) and stated that he was inquiring about

getting new services for this address. The phone call continued and HSA was advised that the

electric services would be through “PGE.” The phone call ended shortly thereafter.

       22.     At approximately 1:18 p.m., agents intercepted a phone call over HSA PHONE

15, used by HSA, and (800) 743-5000, the phone number belonging to Pacific Gas & Electric

Company (“PGE”). During this phone call, HSA advised that he is inquiring about a new service

at “137 Greencrest Street northeast, Salem Oregon 97301” (HSA Residence). HSA also advised

that his name is “Heriberto Salazar” and that it is his first time having services with PGE. HSA

further stated that he had been living at the residence for the past week but he received the keys

on the 1st day of March. The conversation continued and HSA provided more personal

information, including his full name, “Heriberto Salazar Amaya,” and stated that he has an ITIN

number. Additionally, HSA provided his New Mexico driver’s license number as “519447461.”

The call continued and HSA provided a cell phone number, which is consistent with HSA

PHONE 15, and an email address of Heribertosalazar0707@gmail.com. HSA also provides his

date of birth as “August 15, 1988.” This is the actual birthday of HSA. HSA further explained

that he is currently renting the residence (HSA Residence) and the phone call ends shortly after.

       23.     Based on the above-mentioned phone calls, Albuquerque DEA agents requested

assistance from the DEA Salem Resident Office to locate the HSA Residence and observe what

vehicles were present. On April 2, 2025, DEA Salem officers conducted a spot check


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surveillance at the HSA Residence, and observed an orange Ford Raptor truck bearing Colorado

license plate DYX-O84 parked in the driveway. According to Colorado Motor Vehicle

Department, license plate DYX-O84 is registered to Hortencia TIZCARENO (“TIZCARENO”)

at 4115 Dunkirk Ct, Denver, CO 80249 on a 2023 Orange Ford F-150 Raptor pickup truck.

Furthermore, agents had previously identified and observed HSA operating this vehicle in Las

Vegas, NV in September 2024. Agents are also aware that HSA operates several vehicles

registered under TIZCARENO's name and have identified numerous vehicles utilized by the

HSA DTO that are registered to TIZCARENO. Based on these observations, DEA Salem

installed a covert camera facing the HSA Residence in an effort to monitor the residence.

             Wiretap Intercepts Show HSA’s Drug Trafficking Activities are Ongoing

       24.    On March 25, 2025, at approximately 4:50 p.m., agents intercepted a phone call

between HSA PHONE 11, confirmed to be used by HSA as mentioned above, and (505) 420-

8816 (“MONTOYA PHONE”), used by Vincent MONTOYA (“MONTOYA”), a drug customer

of HSA’s in Albuquerque, NM. During this call, HSA and MONTOYA discussed an unknown

quantity of narcotics, specifically “Leons” and the “GSVs”, that MONTOYA needed to purchase

from HSA. It should be noted here, as mentioned above, that law enforcement seized

approximately 150,000 fentanyl pills from SEDILLO’s house with labels that included “Leon”

and “GSV,” therefore agents believe MONTOYA was referring to fentanyl pills unique to the

HSA DTO in this call. Additionally, during this call, HSA also informed MONTOYA that the

“GSV” and the “Leons” are the “best ones” he has, which agents believe HSA is referring to the

quality of the fentanyl pills. MONTOYA indicated that he wanted to purchase narcotics from

HSA and would call him later that same day.


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       25.      Later that night, at approximately 9:36 p.m., agents intercepted a phone call

between HSA and MONTOYA over HSA PHONE 11, where both parties agreed to meet the

following day for the purpose of conducting a drug transaction.

       26.     On March 26, 2025, at approximately 6:26 p.m., agents intercepted a phone call

between HSA and MONTOYA, over HSA PHONE 11. During this call, MONTOYA informed

HSA that he would be ready to conduct the drug transaction in thirty minutes. Immediately

following this call, agents intercepted a phone call between HSA and ACUNA, over HSA

PHONE 14. During this call, HSA instructed ACUNA, the very same courier who delivered to

SEDILLO above, to meet with “la gringa” at 7:15 p.m., to which ACUNA acknowledged HSA

and the phone call ended shortly thereafter. Agents believe HSA was referring to MONTOYA as

“la gringa” in this call based on the prior call HSA had with MONTOYA regarding a drug

transaction set to occur in thirty minutes. At this time, agents established surveillance in the

vicinity of MONTOYA’s residence located in northwest Albuquerque, NM. Agents also

established surveillance in a residential area located at La Cienega St NW and Palo Duro Ave

NW, where agents had previously observed a drug transaction occur between MONTOYA and

ACUNA.

       27.     At approximately 7:14 p.m., agents observed ACUNA, driving a gray Honda CR-

V, arrive to a residential area located at La Cienega St NW and Palo Duro Ave NW and park

curbside. At approximately 7:16 p.m., agents observed MONTOYA exit from his residence and

load a suitcase into a white Dodge Ram, which is a vehicle MONTOYA is known to use.

Moments later, agents observed MONTOYA depart from his residence.




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       28.     At approximately 7:20 p.m., agents observed MONTOYA arrive to the residential

area where ACUNA remained waiting. At this time, agents observed MONTOYA exit from his

vehicle and retrieve the suitcase out of the rear driver’s seat. Simultaneously, agents observed

ACUNA exit from the Honda CR-V and retrieve a black tub with a yellow lid from the rear

driver’s seat. Agents then observed both parties make the exchange of the suitcase and the black

tub with yellow lid in the middle of the residential street and walk back to their respective

vehicles. Moments later, both parties departed from the area. Based on these observations in

conjunction with the intercepts over HSA PHONE 11 and HSA PHONE 15, agents believe

MONTOYA ordered a quantity of narcotics from HSA and ACUNA facilitated the drug

transaction on HSA’s behalf.

       29.     On April 3, 2025, at approximately 12:36 p.m., agents intercepted a phone call

between HSA PHONE 11, used by HSA, and (505) 948-0721 (“ANESI PHONE”), used by

David ANESI (“ANESI”), a drug customer of HSA’s in Albuquerque, NM. During this call,

ANESI informs HSA that he has money for the narcotics he received from HSA on a previous

drug transaction. In this call, ANESI further states, “I’m gonna need… uh, the same thing,” to

which HSA affirms. ANESI then clarifies, “not the t-shirt though,” which agents believe to be a

common drug code for a kilogram of cocaine. ANESI then asks HSA if he has the “waters” and

that he will need one of those too. Based on my training and experience from prior

investigations, agents believe the term “water” is a common drug code for methamphetamine.

HSA then informs ANESI that his guy is out of town and that he will arrive in Albuquerque

around seven (7) or eight (8) p.m. At this time, agents observed the tracker location data for the




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grey Honda CR-V3 was placing the vehicle in the Denver, CO area. Additionally, agents believe

that ACUNA typically utilizes the Honda CR-V as his primary vehicle.

          30.   Later this same day, agents intercepted a phone call between HSA and ANESI

over HSA PHONE 11. In this call, HSA advises ANESI that he will check with his courier

(ACUNA) to see how far from Albuquerque he is. Immediately following the call with ANESI,

agents intercepted a phone call between HSA and ACUNA over HSA PHONE 15, where HSA

states, “I can tell David if he wants to meet up late, if not, until tomorrow then. Right?” Agents

believe HSA is referring to David ANESI and that ACUNA, the very same courier who

delivered to SEDILLO and MONTOYA above, will be the one to deliver the narcotics on HSA’s

behalf.

          31.   Throughout the evening hours, agents were monitoring the tracking device

located on the Honda CR-V and observed the Honda CR-V traveling eastbound on Paseo Del

Norte NE towards ANESI’s residence located in northeast Albuquerque, NM. At this time,

agents established surveillance at ANESI’s residence. At approximately 10:53 p.m., agents

observed the Honda CR-V arrive to ANESI’s residence and park in the driveway. At

approximately 10:57 p.m., agents observed the garage of ANESI’s residence open and ANESI

standing in the garage. Agents then observed ACUNA exit from the driver’s seat of the Honda

CR-V, carrying a dark-colored backpack, and enter the residence through the garage, the garage

closing shortly after. At approximately 11:13 p.m., agents observed the garage open and

ACUNA exit, carrying the same dark-colored backpack, and enter the driver’s seat of the Honda

CR-V. Surveillance was subsequently terminated once the Honda CR-V departed from ANESI’s


   3
       Refer to MR-25-484.

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residence. Based on the intercepted communications, in conjunction with surveillance, agents

believe HSA instructed ACUNA to deliver the narcotics ANESI ordered to ANESI’s residence.

Agents believe ACUNA complied. Accordingly, HSA is continuing to facilitate drug

transactions and send couriers on his behalf to deliver the narcotics.

       32.     On April 16, 2025, at approximately 6:26 p.m., agents intercepted a phone call

between HSA and ACUNA, over HSA PHONE 15. During this phone call, HSA instructs

ACUNA, the very same courier who delivered to SEDILLO, ANESI, and MONTOYA above, to

get “la gringa’s” order ready, to which ACUNA asks HSA if he can tell him what the order is

going to be. HSA further explains that it will be “diez papas” (10 potatoes), “treinta tres cajas”

(33 boxes), and to put in “diez Leones” (10 Leones). It should be again noted here, as mentioned

above, that law enforcement seized approximately 150,000 fentanyl pills from SEDILLO’s

house with labels that included “Leon.” Furthermore, throughout the course of this investigation,

agents have learned that HSA communicates with his couriers using coded language when

referring to narcotics. Agents believe this is in an effort to thwart law enforcement detection.

However, agents have been able to identify various code words relating to certain narcotics.

Agents believe “potatoes” is in reference to pound-quantities of methamphetamine and “boxes”

is in reference to a bundle of 10,000 suspected fentanyl pills. As just stated, agents also believe

“Leones” is in reference to the quality or potency of specific fentanyl pills as brand unique to

HSA, that HSA is providing to his customer (la gringa). ACUNA acknowledges HSA and asks

what time, to which HSA states, “7:30.” HSA further states that “Bacardi” is going to “give you

half and owe half,” which agents believe HSA is referring to money owed for the narcotics.

Based on the forgoing, agents believe HSA continues to facilitate drug transactions.


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                          Agents Further Link HSA to HSA Residence

       33.     On April 23, 2025, at approximately 10:32 a.m., agents began receiving

geolocation data for HSA PHONE 15, which placed the device in close proximity of the HSA

Residence.4 At this time, agents reviewed electronic surveillance at the HSA Residence from the

night of April 22, 2025. At approximately 9:20 p.m., agents observed a male, wearing a black t-

shirt and black shorts, and a female, wearing a dark-colored t-shirt and black pants, exit from the

vicinity of the front entrance of the HSA Residence and walk towards the orange F-150 parked in

the driveway. Agents observed that the male and female matched the description of HSA and

VELAZCO, however, due to the lack of daylight at this time, agents were unable to confirm.

Agents observed the female return back to the HSA Residence and the male enter the driver’s

seat of the orange F-150 and re-position the vehicle in the driveway. Agents then observed the

male exit from the driver’s seat and walk out of view, towards the street. Moments later, agents

observed a gray Ford Bronco Raptor reverse onto the driveway of the HSA Residence and park.

Agents observed that this vehicle matched the description of a gray Ford Bronco Raptor bearing

CO license plate EQAS01, that HSA has been observed driving on prior surveillances. Agents

observed the male open the trunk of the gray Bronco, appearing to unload items, and take them

inside the HSA Residence.

       34.     On April 23, 2025, during the late-morning hours, agents observed, via electronic

surveillance, a female and male exit from the vicinity of the front entrance of the HSA

Residence. At this time, agents were able to positively identify and confirm that HSA and



   4
      Prior to receiving geolocation data for HSA PHONE 15, agents last knew of HSA’s
location being in the Las Vegas, NV area as of April 19, 2025.

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VELAZCO are indeed the male and female that are present at the HSA Residence. Furthermore,

agents with DEA Salem conducted a spot-check surveillance of the HSA Residence later this

same day and observed that the gray Bronco was parked in the driveway and was bearing CO

license plate EQAS01. According to Colorado MVD, license plate EQAS01 is registered to Jose

Luis TIZCARENO at 4115 N Dunkirk Ct, Denver, CO 80249, on a 2024 gray Ford Bronco,

which is the same vehicle HSA has been observed operating in the past. Based on the foregoing,

I believe HSA is currently residing at the HSA Residence. As stated above, law enforcement

began receiving geolocation data for HSA PHONE 15 on April 23, 2025, which placed HSA at

the HSA Residence on the night of April 23, 2025, the morning and night of April 24, 2025, and

the morning of April 25, 2025. This location data was also confirmed by a pole camera located

at the HSA Residence, which places HSA’s vehicle in the driveway.

       35.    On April 24, 2025, HSA was indicted in the District of New Mexico along with

thirteen other individuals on a 12-count indictment. HSA was charged with the following: Count

1: 21 U.S.C. § 846: Conspiracy; Count 10: 8 U.S.C. §§ 1326(a) and (b): Reentry of a Removed

Alien; Count 11: 8 U.S.C. § 1324a(a)(1)(A): Unlawful Employment of Illegal Alien; and Count

12: 8 U.S.C. § 1324(a)(1)(A)(v)(I): Conspiracy to Harbor Illegal Aliens.5

                             Agents Identify the Storage Unit J21

       36.    On April 28, 2025, agents executed a court-authorized search warrant on the HSA

Residence. There, agents located HSA, three other adults (HSA’s girlfriend, her mom, and the

teenage daughter), HSA’s infant daughter, large amounts of cash, seven (7) cellular devices, and



   5
      SEDILLO, MONTOYA, ACUNA, ANESI, and NAVARRETE are co-defendants in the
indictment, among others.

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documents related to a storage facility at Highway 22 Storage (Subject Premises) leased by

HSA in his name.




    Bulk cash seized on April 28, 2025, from search of the HSA Residence in Salem, Oregon

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                      Copy of receipt for rental of Subject Premises
                   from search of the HSA Residence in Salem, Oregon

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                        Rental Agreement for Subject Premises recovered
                       from search of the HSA Residence in Salem, Oregon

       37.     Based upon my training, experience, and participation in this and other

investigations involving drug trafficking, along with conversation with other experienced

investigators and law enforcement agents with whom I work, and interviews of individuals who

have been involved in the trafficking of drugs, I have learned and know the following:

               a.      Drug traffickers often utilize “stash houses” and other off-site facilities

such as storage units to conceal their illegal activities and contraband and these “stash locations”

may or may not be their actual residence, such was when a storage unit is used. Drug traffickers

often utilize multiple “stash locations” to conceal large amounts of drugs, drug proceeds, or other

contraband and to keep law enforcement and/or competitors from finding the same.


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               b.      I know that drug dealing is a dangerous business and that drug traffickers

regularly arm with firearms themselves to protect themselves, their drugs, and the cash they

make from selling drugs from being robbed and stolen.

               c.      It is common to find papers, letters, billings, documents, and other

writings, which show ownership, dominion, and control of businesses, residences, and/or

vehicles in the residences and vehicles of drug traffickers. Items of personal property that tend

to identify the person(s) in control or ownership of the Subject Premises also include canceled

mail, deeds, leases, rental agreements, photographs, personal telephone books, diaries, utility and

telephone bills, statements, identification documents, keys, financial papers, rental receipts and

property ownership papers, personal and business telephone and address books and telephone

toll records; and other personal papers or identification cards in the names of subjects involved in

the criminal activity being investigated.

               d.      It is common for drug dealers to secrete proceeds of illegal drug sales and

records of illegal drug transactions in secure locations within stash locations for their ready

access and to conceal them from law enforcement authorities.

               e.      Drug traffickers amass large proceeds from the illegal sale of controlled

substances that they attempt to legitimize. To accomplish these goals, drug traffickers utilize

financial institutions and their attendant services, securities, cashier's checks, safe deposit boxes,

money drafts, real estate, shell operations, and business fronts. Persons involved in drug

trafficking and/or money laundering keep papers relating to these activities for future reference,

including Federal and State tax records, loan records, mortgages, deeds, titles, certificates of

ownership, records regarding investments and securities, safe deposit box rental records and


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keys, and photographs. I know from my training and experience that often items of value are

concealed by persons involved in large-scale drug trafficking inside of safes, lock boxes, and

other secure areas within stash locations, including storage units.

                f.      Drug traffickers very often place assets in names other than their own to

avoid detection of these assets by government agencies, and that even though these assets are in

other individual or business names, the drug dealers actually own and continue to use these

assets and exercise dominion and control over them.

                g.      Unexplained wealth is probative evidence of crimes motivated by greed,

in particular, illegal trafficking in drugs.

                h.      Drug traffickers often document aspects of their criminal conduct through

photographs or videos of themselves, their associates, their property, and their product. Drug

traffickers usually maintain these photographs or videos in their possession.

                i.      Drug traffickers must maintain large amounts of United States currency in

order to maintain and finance their on-going illegal drug trafficking business.

                j.      Drug traffickers utilize mobile electronic devices including cellular

telephones and other wireless communication devices for the purpose of maintaining their illegal

trafficking business. Such equipment often contains evidence of these illegal activities.

                k.      It is common for drug dealers to possess additional drugs for purposes of

further distribution, as well as drug paraphernalia and other items which are associated with the

distribution and possession with the intent to distribute controlled substances such as scales,

hidden compartments, blenders, funnels, sifters, grinders, glass panes, mirrors, razor blades,




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plastic bags, heat sealing devices, and dilutants such as inositol, vitamin B12, etc., within their

residences, stash houses (storage locations), and vehicles.

               l.      Distributors of drugs frequently try to conceal their identities by using

fraudulent names and identification cards. Once identities have been created or stolen from

other citizens, drug traffickers use those identifications to falsify records such as Department of

Motor Vehicle and phone records for the purpose of theft of services and to evade detection by

law enforcement.

               m.      It is a common practice for drug traffickers to maintain records relating to

their drug trafficking activities in their residences, storage lockers, and businesses. Because

drug traffickers in many instances will “front” (that is, sell on consignment) controlled

substances to their clients, or alternatively, will be "fronted" these items from their suppliers,

such record-keeping is necessary to keep track of amounts paid and owed, and such records will

also be maintained close at hand so as to readily ascertain current balances. These records

include “pay and owe" records to show balances due for drugs sold in the past (pay) and for

payments expected (owe) as to the trafficker's suppliers and distributors, telephone and address

listings of clients and suppliers, and records of drug proceeds. These records are commonly

kept for an extended period of time.

               n.      Drug traffickers maintain books, records, receipts, notes, ledgers, airline

tickets, money orders, and other papers relating to the importation, transportation, and

distribution of controlled substances. These documents whether in physical or electronic form,

are maintained where the traffickers have ready access to them. These documents include travel

records, receipts, airline tickets, auto rental agreements, invoices, and other memorandum


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disclosing acquisition of assets and personal or business expenses. I also know that one of the

most promising places to find such items is within drug traffickers’ stash locations, such as

storage units.

                 o.     Latent fingerprints and palm prints are frequently found in drug traffickers

residences and vehicles, and can be evidence of dominion, control, and possession of stash

locations.

       38.       As described above and in Attachment B, this application seeks permission to

search for records that might be found in the Subject Premises in whatever form they are found.

One form in which the records will likely be found is data stored on a computer’s hard drive, on

other storage media, or other digital devices, including cell phones (hereinafter collectively

referred to as digital devices). Thus, the warrant applied for would authorize the seizure of

electronic storage media or the copying of electronically stored information, all under Rule

41(e)(2)(B).

       39.       There is probable cause to believe, and I do believe, that records will be stored on

a digital device because, based on my knowledge, training, and experience, I know individuals

involved in drug trafficking utilize digital devices, such as cell phones, in furtherance of the

Target Offenses. I also know that drug traffickers often store communications, including voice,

text, and multi-media messages on their cell phones.

                 a.     Computer files or remnants of such files can be recovered months or even

years after they have been downloaded onto a digital device, deleted, or viewed via the Internet.

Electronic files downloaded to a digital device can be stored for years at little or no cost. Even

when files have been deleted, they can be recovered months or years later using forensic tools.


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When a person “deletes” a file on a digital device, the data contained in the file does not actually

disappear; rather, that data remains on the digital device until it is overwritten by new data.

Therefore, deleted files or remnants of deleted files, may reside in free space or slack space—

that is, in space on the digital device that is not currently being used by an active file—for long

periods of time before they are overwritten. In addition, a digital device’s operating system may

also keep a record of deleted data in a “swap” or “recovery” file.

               b.      Wholly apart from user-generated files, digital devices—in particular,

internal hard drives—contain electronic evidence of how a digital device has been used, what it

has been used for, and who has used it. To give a few examples, this forensic evidence can take

the form of operating system configurations, artifacts from operating system or application

operation, file system data structures, and virtual memory “swap” or paging files. Digital device

users typically do not erase or delete this evidence, because special software is typically required

for that task. However, it is technically possible to delete this information.

               c.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

               d.      Based on actual inspection of other evidence related to this investigation, I

am aware that digital devices were used to generate communications in furtherance of the Target

Offenses. Thus, there is reason to believe that there is a digital device currently located at the

Subject Premises.

       40.     As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the warrant

but also for forensic electronic evidence that establishes how digital devices were used, the


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purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any digital device in the Subject Premises, because,

based on my knowledge, training, and experience, I know:

               a.      Data on the digital device can provide evidence of a file that was once on

the digital device but has since been deleted or edited, or of a deleted portion of a file (such as a

paragraph that has been deleted from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently active. Web browsers, email programs, and chat programs store configuration

information on the digital device that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the digital device was in use. Computer file systems can record information about the

dates files were created and the sequence in which they were created.

               b.      Forensic evidence on a digital device can also indicate who has used or

controlled it. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. For example, registry information,

configuration files, user profiles, email, email address books, “chat,” instant messaging logs,

photographs, the presence or absence of malware, and correspondence (and the data associated

with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or

controlled the digital device at a relevant time. Further, forensic evidence on a digital device

can show how and when it was accessed or used. Such “timeline” information allows the

forensic analyst and investigators to understand the chronological context of access to the digital


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device, its use, and events relating to the offense under investigation. This “timeline”

information may tend to either inculpate or exculpate the user of the digital device. Last,

forensic evidence on a digital device may provide relevant insight into the user’s state of mind as

it relates to the offense under investigation. For example, information on a digital device may

indicate the user’s motive and intent to commit a crime (e.g., relevant web searches occurring

before a crime indicating a plan to commit the same), consciousness of guilt (e.g., running a

“wiping program” to destroy evidence on the digital device or password protecting or encrypting

such evidence in an effort to conceal it from law enforcement), or knowledge that certain

information is stored on a digital device (e.g., logs indicating that the incriminating information

was accessed with a particular program).

               c.      A person with appropriate familiarity with how a digital device works can,

after examining this forensic evidence in its proper context, draw conclusions about how digital

devices were used, the purpose of their use, who used them, and when.

               d.      The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a digital device that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, electronic evidence is not always data that can be merely reviewed by a review team and

passed along to investigators. Whether data stored on a digital device is evidence may depend

on other information stored on the digital device and the application of knowledge about how a

digital device behaves. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant.




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                e.     Further, in finding evidence of how a digital device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a digital device. For example, the presence or absence of counter-forensic

programs or anti-virus programs (and associated data) may be relevant to establishing the user’s

intent.

          41.   In most cases, a thorough search of Subject Premises for information that might

be stored on a digital device often requires the seizure of the device and a later, off-site review

consistent with the warrant. In lieu of removing a digital device from the Subject Premises, it

is sometimes possible to image or copy it. Generally speaking, imaging is the taking of a

complete electronic picture of the digital device’s data, including all hidden sectors and deleted

files. Either seizure or imaging is often necessary to ensure the accuracy and completeness of

data recorded on the digital device and to prevent the loss of the data either from accidental or

intentional destruction. This is true because:

                a.     As noted above, not all evidence takes the form of documents and files

that can be easily viewed on site. Analyzing evidence of how a digital device has been used,

what it has been used for, and who has used it requires considerable time, and taking that much

time on Premises could be unreasonable. As explained above, because the warrant calls for

forensic electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

examine digital devices to obtain evidence. Digital devices can store a large volume of

information. Reviewing that information for things described in the warrant can take weeks or

months, depending on the volume of data stored, and would be impractical and invasive to

attempt on-site.


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                b.     Records sought under this warrant could be stored in a variety of formats

that may require off-site reviewing with specialized forensic tools. Similarly, digital devices can

be configured in several different ways, featuring a variety of different operating systems,

application software, and configurations. Therefore, searching them sometimes requires tools or

knowledge that might not be present on the search site. The vast array of hardware and software

available makes it difficult to know before a search what tools or knowledge will be required to

analyze the system and its data on the Premises. However, taking the digital device off-site and

reviewing it in a controlled environment will allow its examination with the proper tools and

knowledge.

       42.      Nature of the examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant for which I apply would permit seizing, imaging, or otherwise copying

digital devices that reasonably appear to contain some or all of the evidence described in the

warrant and would authorize a later review of the device or information consistent with the

warrant.     The later review may require techniques, including but not limited to computer-

assisted scans of the entire device, that might expose many parts of a hard drive to human

inspection in order to determine whether it is evidence described by the warrant.

       43.      The initial examination of the digital device will be performed within a reasonable

amount of time not to exceed 120 days from the date of execution of the warrant. If the

government needs additional time to conduct this review, it may seek an extension of the time

period from the Court within the original 120-day period from the date of execution of the

warrant. The government shall complete this review within 180 days of the date of execution of




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the warrant. If the government needs additional time to complete this review, it may seek an

extension of the time period from the Court.

        44.     If, at the conclusion of the examination, law enforcement personnel determine

that particular files or file folders on the digital device do not contain any data falling within the

scope of the warrant, they will not search or examine those files or folders further without

authorization from the Court. Law enforcement personnel may continue to examine files or data

falling within the purview of the warrant, as well as data within the operating system, file

system, software application, etc., relating to files or data that fall within the scope of the

warrant, through the conclusion of the case.

        45.     If an examination is conducted, and the digital device does not contain any data

falling within the ambit of the warrant, the government will return the digital device to its owner

within a reasonable period of time following the search and will seal any image of the digital

device, absent further authorization from the Court.

        46.     The government may retain the digital device as evidence, fruits, contraband, or

an instrumentality of a crime or to commence forfeiture proceedings against the digital device

and/or the data contained therein.

        47.     The government will retain a forensic image of the digital device for a number of

reasons, including proving the authenticity of evidence to be used at trial, responding to

questions regarding the corruption of data, establishing the chain of custody of data, refuting

claims of fabricating, tampering, or destroying data, and addressing potential exculpatory

evidence claims where, for example, a defendant claims that the government avoided its

obligations by destroying data or returning it to a third party.


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                                            Conclusion

       48.     Based on the foregoing, I have probable cause to believe, and I do believe, that

HSA and others have committed the Target Offenses, and that contraband, evidence, fruits, and

instrumentalities of the offenses, as described above and in Attachment B are presently located at

the Subject Premises, which is described above and in Attachment A. I therefore request that

the Court issue a warrant authorizing a search of the Subject Premises described in Attachment

A for the items listed in Attachment B and the seizure and examination of any such items found.

       49.     Prior to being submitted to the Court, this affidavit, the accompanying

application, and the requested search warrant were all reviewed by Assistant United States

Attorney (AUSA) Peter Sax, who has advised me that in his opinion the affidavit and application

are legally and factually sufficient to establish probable cause to support the issuance of the

requested warrant.


                                                      By phone pursuant to Fed. R. Crim. P. 4.1
                                                      Gillian Polinko
                                                      Special Agent
                                                      Drug Enforcement Administration

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

__________
  10:30    a.m. / p.m. on April 28, 2025.



                                                      ________________________________
                                                      HONORABLE STACIE F. BECKERMAN
                                                      United States Magistrate Judge




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